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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


UNITED STATES OF AMERICA              )
                                      )
v.                                    )      Criminal No. 1:16CR143
                                      )
MOHAMAD JAMAL KHWEIS                  )      The Honorable Liam O’Grady
                                      )
             Defendant.               )



                       DEFENDANT’S REQUESTED VOIR DIRE

      Comes now the Mohamad Khweis by and through his counsel and

respectfully requests that this Honorable Court pose the following questions to the

prospective jurors:

      1. Employment Bias

             a. Has anyone ever been employed by a law enforcement agency or

                applied to one for employment? Is so which one and when.

             b. Has anyone had a close relative or friend been employed by

                Federal Government a law enforcement agency. If so which one

                and when and your relationship to that person;

             c. Has anyone ever been employed by the Federal Government

                applied to it for employment? Is so which agency and when.

             d. Has anyone had a close relative or friend been employed. If so

                which one and when and your relationship to that person;
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          e. Has anyone ever been a member of the armed services or

             attempted to join it? If so which branch.

          f. Does anyone have a close friend or relative serving in the armed

             services? If so your relationship and which branch.

          g. Would anyone tend to believe a Law enforcement officer over that

             of an ordinary person because of that person’s status as a Law

             enforcement officer;

          h. Would anyone tend to believe an employee of the Federal

             Government over that of an ordinary person because of that

             person’s status as a member of the Armed Services ;

          i. Would anyone tend to believe an employee of the State

             Department over that of an ordinary person because that person

             status as an employee of the Federal Government.

    2. Religious Bias

          a. Does anyone have a negative view of ISLAM?

                i. Does anyone associate Islam with violence?

               ii. Does anyone associate Islam with Terrorism?

          b. Does anyone have a negative view of Muslims?



    3. ISIS or Terrorism
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          a. Has anyone been directly affected by an act of terrorism? If so

             explain.

          b. Has anyone had a close friend or relative affected by an act of

             terrorism? If so explain;



    4. Belief in the First Amendment.

          a. Does anyone not believe that a United states Citizen should have

             the freedom

                 i. to travel,

                ii. to associate

               iii. speak

               iv. obtain knowledge though books, newspapers, the internet

                    and personal exploration?



    5. Concluding question.

          – the defendant, Mr. Khweis is charged with providing material

          support to a terrorist organization. In this case ISIS:

       (AFTER INSTRUCTING THEM ON BURDEN OF PROOF AND

       PRESUMPTION OF INNOCENCE)
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          a. Does anyone here feel so strongly about ISIS or terrorism that even

             before the trial begins you lean toward convicting Mr. Khweis;

          b. If at the end of the trial you are left with the belief that Mr. Khweis

             is probably guilty but have a reasonable doubt about his guilt,

             would any of you hesitate to find him not guilty;

                                          6.

                                  7. CONCLUSION

       In order to assist the defendant to obtain a fair and unbiased jury Mr.

       Khweis respectfully requests this honorable Court to ask the above listed

       questions.


    Respectfully submitted,
                                                  MOHAMAD KHWEIS
                                                  By Counsel

          __/s/_______________
       Jessica N. Carmichael, Esq.
       Virginia Bar No. 78339
       HARRIS & CARMICHAEL, PLLC
    1800 Diagonal Road, Suite 600
    Alexandria, Virginia 22314
       (703) 684-7908
       jcarmichael@harriscarmichael.com
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          __/s/_______________
       John K. Zwerling, Esq.
       Virginia Bar No. 8201
        ZWERLING/CITRONBERG, PLLC
        114 N. Alfred Street
        Alexandria, VA 22314
                                703-684-8000
                                703-684-9700 (F)
                                Email: jz@zwerling.com
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       CERTIFICATE OF SERVICE

           I, hereby certify, that on the 23rd day of May, 2017, I electronically filed the
       foregoing with the Clerk of the Court using the CM/ECF system, which will send a
       notification of such filing (NEF) to the following and all parties to this action:

      Dennis Fitzpatrick, Esq.
      United States Attorney's Office
      2100 Jamieson Ave
      Alexandria, VA 22314
      (703) 299-3954
      Email: dennis.fitzpatrick@usdoj.gov

       Raj Parekh, Esq.
       US Attorney's Office
       2100 Jamieson Avenue
       Alexandria, VA 22314
       703-299-3700
       Email: raj.parekh@usdoj.gov

       Colleen Garcia, Esq.
       US Attorney's Office
       2100 Jamieson Avenue
       Alexandria, VA 22314
       703-299-3700
       Email: colleen.e.garcia@usdoj.gov

       ________/s/_____________
       John Kenneth Zwerling, Esq.
